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RULES GOVERNING THE APPEALS
PROCESS

_ EFFECTIVE FEBRUARY 4, 2013

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DEEPWATER HORIZON
CLAIMS CENTER

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TITLE I: GENERAL

Rule l. Purpose of these Rules. These Rules govern the process for the Appeals Process
under Section 6 and Exhibit 25 of the Settlement Agreement and serve as the protocol
summarizing the procedures for Appeals to the Appeal Panel required by Exhibit 25.

Rule 2. Definitions. Untess otherwise defined in these Rules, all capitalized terms shall
have the meanings given to them in the Settlement Agreement. Unless otherwise noted, “Appeal
Panel” shall be used throughout these Rules to refer to both a single Appeal Panelist and a three
member Appeal Panel.

Rule 3. Amendments to these Rules. Pursuant to Section 5 of Exhibit 25, the Appeals
Coordinator, upon concurrence of the Claims Administrator, may amend these Rules as
necessary to implement Section 6 of the Settlement Agreement, after providing notice and a right
to comment by the BP Parties (“BP”) and Lead Class Counsel.

Rule 4. Appeals Coordinator. The Claims Administrator has appointed David Duval as
the Appeals Coordinator to oversee the Appeals Process.

Rule 5. Appeal Panel. The appointment to and continued service on the Appeal Panel is
subject to the oversight of the Court, which shail retain jurisdiction over the Appeal Panel,
pursuant to Settlement Agreement § 6.1.2.2.5,

(a} Appeal Panelist Pool: The roster of Appeal Panelists eligible to sit on an Appeal
Panel shall consist of between 10 and 20 Appeal Panelists.

(b) Nomination of the Appeal Panelist Pool: Within 21 days of Preliminary Approval,
the Parties shall agree on a list of at least 30 individuals as potential Appeal Panelists
and jointly submit that list of nominees to the Court, who will select the Appeal
Panelists.

(c) Selection of the Appeal Panelist Pool: The Parties shall agree to the joint
recommendation of at least 30 candidates possessing the relevant experience and
qualifications for appointment by the Court, in the exercise of its independent
discretion, to serve as the Appeal Panelists. The Parties shall continue this process of
joint selection, as necessary, to accomplish the Court’s approval and appointment of a
full panel of Appeal Panelists. The Parties shall indicate along with the submission
whether the potential Appeal Panelist is qualified to hear appeals on claims of
$1,000,000 or more. From the joint list of nominees, the Court may select some or all
of the nominees for inclusion in the Appeal Panelist pool. Ifthe Court’s selection
does not fill the Appeal Panel, or if there is a vacancy on the Appeal Panel, the Parties
shall nominate additional candidates, in accordance with Settlement Agreement §
6.1.2.2, for the Court’s consideration for appointment to the Appeal Panel.

(d) Panel Composition: A single Appeal Panelist shall determine the appeal where the
Compensation Amount sought by the claimant is less than $1,000,060. A three-
member Appeal Panel shall determine the appeal where the Compensation Amount

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sought by the claimant is greater than $1,000,000. For all three-member panels, one
of the Panelists shall be from the home state of the claimant’s residence or principal
place of business in the Gulf Coast Areas.

(ec) Compensation for Appeal Panelists: The Appeals Coordinator shall devise a uniform
compensation program for Appeal Panelists as to which he shall seek input from the
Claims Administration Panel. Such compensation program shall be subject to the
approval of the Court.

(f) Anonymity of Appeal Panelists: At no time during or after an appeal shall the
identity of the Appeal Panelist(s) reviewing or deciding the claim be disclosed to the
claimant, BP, or Class Counsel,

Rule 6. Computation of Time and Dates of Submission.

(a) Any time period prescribed by these Rules shall be computed in accordance with

Rule 6 of the Federal Rules of Civil Procedure subject to any further clarifications
from the Office of the Claims Administrator. Ifa deadline under these Rules falls on
a Saturday, Sunday or a holiday, the deadline is extended to the next business
day. Holidays are: New Year’s Day, Martin Luther King, Jr.’s Birthday,
Washington’s Birthday, Memorial Day, Independence Day, Labor Day, Columbus
Day, Veteran’s Day, Thanksgiving Day, Christmas Day, and any other day

: designated by the Office of the Claims Administrator.

(b) Determining the Date of Submission: Any document submitted on the DWH Portal
or by email shall be considered submitted on the date uploaded or emailed at the local
time of the submitting party. Documents submitted by mail shall be considered
submitted on the postmark date. Documents submitted by overnight delivery shall be
considered submitted on the date delivered to the carrier. Documents submitted by
personal delivery shall be considered submitted on the date of receipt.

TITLE I; HOW APPEALS ARE TAKEN

Rule 7. Types of Notices Appealable to the Appeal Panel.

(a) A claimant may appeal to the Appeal Panel any Post-Reconsideration Eligibility
Notice or Denial Notice on any Claim Type except for: (1) Seafood Crew Category
I] and UI claims, which are not appealable; and (2) Post-Reconsideration
Incompleteness Denial Notices, which may only be appealed to the Documentation
Reviewer.

(b) Appeals by BP: BP may appeal to the Appeal Panel any Eligibility Notice where the
Compensation. Amount awarded in such Notice, before the application of any Risk
Transfer Premium, is in excess of $25,000. BP may not appeal any Denial Notice or
any Eligibility Notice where the Compensation Amount awarded in such Notice,
before the application of any Risk Transfer Premium, is $25,000 or less.

(c) Underlying Review: Ifthe Claims Administrator determines and both parties agree
that there was an error or incorrect calculation in the underlying review, the Claims

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Administrator shall issue a corrected Eligibility Notice, which shall trigger new rights
for Reconsideration or Appeal. The Appeals Coordinator shall administratively close
the appeal.

Rule 8. Request for Reconsideration as a Prerequisite for Claimant Appeal.

(a} Reconsideration Must Precede a Claimant Appeal: No claimant may appeal any
Notice unless the claimant previously requested Reconsideration of the outcome on
the claim within 30 days after the Claims Administrator issued an outcome Notice on
the claim. Failure by a claimant timely to request Reconsideration shall constitute
waiver of the right to Reconsideration or to appeal. The Claims Administrator will
consider an attempted appeal from a claimant asserted before submitting a Request
for Reconsideration to be a Request for Reconsideration rather than an appeal.

(b) Effect of a BP Appeal on the Claimant’s Right to Reconsideration: An appeal by BP
of an Eligibility Notice shall not affect the claimant’s right to seek Reconsideration.
If BP has appealed an Eligibility Notice within 30 days after the date of such Notice,
the claimant shall have the full 30 days to request Reconsideration and if the claimant
timely makes such a request, the Appeal Process will terminate and the
Reconsideration shall proceed. Issuance of the Post- Reconsideration Eligibility
Notice on the claim shall cause the time for appeal by the claimant or BP to
commence.

Rule 9. Consolidated Appeal Process for Each Appealable Claim. After BP or the

‘claimant initiates an Appeal as the appellant, the appellee shall raise any and all appealable

issues within the same appeal when it submits its Initial Proposal and may not initiate a separate
_ appeal for the claim. The original appellant shall be limited to the issues raised in its Notice of
Appeal, except as necessary to respond to new issues raised by the appellee in its Initial
Proposal. The appellee shall be limited to the issues raised in its Initial Proposal. The Appeal
Panelist shall not consider issues raised by either the appellant or the appellee after the Notice of
Appeal and/or Initial Proposal, as provided in this Rule.

Rale 10. Appeals by Claimants.

(a) Time for Appeal: A claimant shall note an appeal within 30 days after the date of the
Post-Reconsideration Eligibility Notice or Post-Reconsideration Denial Notice to the
claimant on the claim.

(b) Request for Appeal Form: To note an Appeal, a claimant shall complete and submit a
Request for Appeal Form. A represented claimant must electronically submit the
Request for Appeal Form using the DWH Portal. A Pro Se claimant may submit the
Request for Appeal Form using the DWH Portal, or email, mail or deliver the
completed hard copy form (attached to the claimant’s Post-Reconsideration
Eligibility Notice or Post-Reconsideration Denial Notice) to the Claims
Administrator. The claimant shall indicate in such Request for Appeal Form the
issues appealed and the relief requested.

(c) Filing Fee: The claimant shall pay a Filing Fee as follows, with the submission of a
Request for Appeal Form, or the appeal shall be dismissed:

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(1) Appeal of a Post-Reconsideration Denial Notice: $100, refunded if the Appeal
Panel overturns the Denial.

(2) Appeal of the Risk Transfer Premium Only: $100, refunded if the Appeal Panel
awards a higher Risk Transfer Premium.

(3) Fee for Appeal of Prior Payment Offsets Only: $100, refunded if the Appeal
Panel reduces the Prior Payment Offsets.

(4) Fee for All Other Claimant Appeals:

a. Filing fee based on the Compensation Amount sought by the claimant on

appeal:

Amount Sought by Claimant on Appeal Fee
‘1. | Up to $10,000 $100
2. | $10,000.01 to $25,000 — $150
3. | $25,000.01 to $50,000 $200
4. $50,000.01 to $100,600 $250
5. ; $100,000.01 to $250,000 $500
6. | $250,000.01 to $500,000 $1,000
7. | Greater than $500,000 oT $2,500

This fee shall be refunded if the Appeal Panel awards the claimant a higher
Compensation Amount than that awarded by the Claims Administrator in the
Post-Reconsideration Eligibility Notice.

b. Rather than pay a filing fee upfront, the claimant can agree to a 5% reduction
of the Post-Reconsideration Compensation Amount (before the Risk Transfer
Premium), ifthe Appeal Panel does not award the claimant a higher
Compensation Amount than that awarded by the Claims Administrator in the
Post-Reconsideration Eligibility Notice.

(5) Method of Payment: Claimants may submit payment by check or pay by credit
card using the secure PayPal system on the DWH Portal.

Rule 11. Appeals by BP.

(a) Time for Appeal: BP shall note an appeal within the following time periods after the
date of the Eligibility Notice or the Post-Reconsideration Eligibility Notice being
appealed:

Compensation Amount in the Notice Time for BP to Appeal
1. | $25,000.01 to $250,000 10 days

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2. | $250,000.01 to $500,000 15 days
Greater than $500,000 20 Days

(b) Request for Appeal Form: To note an Appeal, BP shall submit a Request for Appeal
form through the DWH Portal. BP shall indicate in such Request for Appeal Form
the issue(s) appealed and the relief requested.

(c} BP shall pay a Filing Fee based on the Compensation Amount awarded to the
claimant in the Eligibility Notice or Post-Reconsideration Eligibility Notice.

Compensation Amount Fee
1. | $25,000.01 to $50,000 $406
2. | $50,000.01 to $100,000 $500
3. | $100,000.01 to $250,000 $1,000
A. | $250,000.01 to $500,000 $2,000
5. | $500,000.01 to $1,000,600 $4,000
6. | Greater than $1,000,000 $5,000

(d) The Appeals Coordinator shall issue a BP Appeal Invoice on the 5 day of each
month that itemizes each claim appealed the prior month.

TITLE Uf: PARTIES AND RECORD ON APPEAL

Rule 12. Parties to the Appeal. BP and the claimant shall be the parties to any Appeal.
Although the Claims Administrator shall submit a Summary of Review as requested by the
Appeal Panel, the Claims Administrator shall not be considered a party to the Appeal. Class
Counsel are permitted to submit amicus memoranda in support of the Claimant, which must be
filed in accordance with the deadlines for exchanging the Initial and Final Proposals, as set forth
in Rules 17{a) and 17(b).

Rule 13, Record on Appeal. The record on appeal shall consist of:
(a) The Settlement Agreement and all its attachments;
(b) Court rulings on similar issues;

(c) Prior appeal rulings on similar issues, which are for informational purposes only and
are not binding precedent;

' The BP Appeal Invoice shall include filing fees on BP Appeals that are subsequently withdrawn pursuant to
Rule 16. °

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(d) Formal Claims Administrator policies, which have been promulgated and announced
by the Claims Administrator after completion of the formal administrative review
process adopted by the Claims Administrator and outlined in Section 4.3.4 of the
Settlement Agreement;

(c) The entire Claim File on the claim with the Claims Administrator;

(f) The Claims Administrator’s Summary of Review, as requested by the Appeal Panel.
The Summary of Review is intended to provide the Appeal Panel with an
understanding of what occurred in the underlying processing of the claim, including
the basis for the determination(s) made by the Claims Administrator. It shall include
reference to and a factual explanation of any formal policies or procedures adopted by
the Claims Administrator that are applicable to the issue(s) raised by the appeal,
referring the Appeal Panelist to the formal policies that are part of the Record of —
Appeal, as described in Rule [3 (c). The Summary of Review is not to be a document
that advocates one position or the other but rather is to be a narrative that simply
explains how the Claims Administrator processed the claim. The Summary of
Review is for informational purposes only and is to be made available to the Appeal
Panel, the Claimant, Class Counsel and BP. The Appeal Panel may grant the
Claimant, Class Counsel and BP the right to file a response to the Claims
Administrator’s Summary of Review, but such response shall be limited to a
correction of facts recited in the Summary of Review and shall not include any
argument.

(2) The Initial and Final Proposals and supporting memoranda, as well as any amicus
filings by Class Counsel submitted under these Rules; and

(bh) On any appeal by BP, where BP contends that the claim does not comply with the
applicable documentation requirements set forth in the Settlement Agreement, a
claimant may submit additional substantive documentation with the clatmant’s Final
Proposal and supporting memorandum. If the Claimant cannot reasonably obtain and
submit the documentation by the deadline for submitting its Final Proposal, the
Appeals Coordinator shall extend the Final Proposal deadline in order to afford the
Claiinant with a reasonable opportunity to submit the additional documentation.

Rule 14. Issues on Appeal. The issues on appeal shall be limited to those originally
raised by the appellant claimant or BP tn the Request for Appeal Form/Notice of Appeal, except
that if the appellee had a right to bring an appeal and is consolidating that appeal under Rule 9,
the appellee may raise a new issue in its Initial Proposal, and the appellant may address such
issue in its Final Proposal. As provided in Rule 9, a claimant may raise issues and seek
additional compensation in the event of a BP appeal, even where the claimant did not seek
Reconsideration.

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TITLE IV: APPEAL PANEL PROCESS

Rule 15. Notice of Appeal and Appeal Schedule. The Appeals Coordinator shall post to
the DWH Portal or mail to both parties a copy of the Notice of Appeal and attach a schedule
including specific due dates (month, day, and year) for all aspects of the Appeals process. The
Notice of Appeal shall contain the issues for appeal as set forth in the appellant’s Request for
Appeal. The schedule will include the mailing and email addresses of the parties to the appeal
and the Lead Class Counsel.

Rule 16. Withdrawal of Appeal. The appellant may withdraw the Appeal by submitting a
Withdrawal of Appeal Form at any time until the Appeal Panel issues a decision on the claim.
After withdrawing an Appeal, the appellant may not re-submit an Appeal for that claim and the
Notice being appealed shall become final. No Filing Fee shall be refunded after withdrawal of
an appeal. If an appellee has raised an appealable issue pursuant to consolidating an appeal
under Rule 9 and that issue is unresolved when the appellant withdraws its appeal, the appeal
shall continue as to that issue.

‘Rule 17. Baseball Process. The Claims Administrator shall process appeals of Eligibility
Notices or Post-Reconsideration Eligibility Notices submitted by cither party using the process
set forth in Section 6.2 of the Settlement Agreement involving the exchange of Initial and Final
Proposals by the parties (the “Baseball Process”).

(a) Initial Proposals: Within 15 days after the date the Appeals Coordinator issues the
Notice of Appeal, both parties shall exchange and submit their Initial Proposals, for
the base Compensation Amount they propose the claimant should receive. Either
party may propose new values for cne or more of the following factors used to

. calculate the Award Amount: the Compensation Amount, RTP Multiplier, or Prior
Payment Offset. The claimant is not limited to the amount in the Eligibility Notice,
even if the claimant did not seek Reconsideration. Either party may submit a
supporting memorandum and any additional materials as set forth in Rule 13 with its
Initial Proposal. BP, Class Counsel (amicus) and represented claimants must submit
the Initial Proposal and supporting materials using the DWH Portal. Pro Se claimants
may use the portal or submit materials by mail or email.

(1) Initial Proposal Default Amounts.

a. If BP fails to submit an Initial Proposal, BP’s Initial Proposal shall default to
the Compensation Amount, RTP Multiplier and Prior Payment Offset, if any,
awarded by the Settlement Program.

b. Jfon a Claimant Appeal the claimant fails to submit an Initial Proposal, the
claimant’s Initial Proposal Compensation Amount shall default to the
Compensation Amount that the claimant requested when submitting the
Appeal. Ifthe claimant did not appeal the Compensation Amount, the
claimant’s default Initial Proposal shall default to the Compensation Amount,
RTP Multiplier and Prior Payment Offset, if any, awarded by the Settlement
Program.

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c. Hona BP Appeal the claimant fails to submit an Initial Proposal, the
claimant’s Initial Proposal shall default to the Compensation Amount, RTP
Multiplier, and Prior Payment Offset, if any, awarded by the Settlement
Program.

(2) Notice of Initial Proposal: The Appeals Coordinator shall simultaneously post
both Initial Proposals and any supporting memoranda to the DWH Portal of both
parties when it receives both Initial Proposals, or after 15 days, whichever occurs
first. The Appeals Coordinator shall mail this information to claimants who do
not use the DWH Portal.

(b) Final Proposals. The claimant and BP must exchange and submit a final proposed
base compensation amount (“Final Proposal”) to the Appeal Panelist or Appeal Panel.
Either party may submit a supporting memorandum with its Final Proposal. A party
may only submit additional materials with a Final Proposal and supporting
memorandum: (i) in the event of a cross-appeal under Rule 14; and (ii) as set forth
within Rule 13. In addition, where BP contends in its Notice and/or Initial Proposal
that the documentation provided by the Claimant in the Record does not comply with
the applicable documentation requirements set forth in the Settlement Agreement, the
Claimant shall be afforded the opportunity to submit additional documentation, as
provided in Rule 13. BP, Class Counsel (amicus) and represented claimants must
submit the Final Proposal and supporting materials using the DWH Portal. Pro Se
claimants may use the portal or submit materials by mail or email.

(1) Time for Final Proposals: Within 25'days of the date that the Appeals
Coordinator posts the Notice of Appeal, if BP and the claimant have not settled
the Appeal, each party shal! submit its Final Proposal.

(2) Final Proposal Default Amounts: If either party fails to submit a Final Proposal,
that party’s Initial Proposal shall serve as the Final Proposal.

(3) Notice of Final Proposal: The Appeals Coordinator shall simultaneously post the
Final Proposals on both parties’ DWH Portal when it receives both Final
Proposals or after 25 days, whichever occurs first. The Appeals Coordinator shall
mail this information to claimants who do not use the DWH Portal.

(c) Agreement Between Parties. If at any time during the process the parties reach an.
agreement by submitting matching Initial or Final Proposals, or by reaching a
compromise, the appeal process shall end.

(1} The claimant or BP may accept the other party’s Initial Proposal at any time until
the Final Proposals are posted to the DWH Portal or mailed to non-portal users.
The DWH Portal blocks the opposing party from accepting an Initial Proposal
once the Final Proposals have been posted.

(2) The claimant and BP shall have five days after the posting/mailing of the Final
Proposals to accept the other party’s Final Proposal.

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(3) If neither party accepts a Final Proposal within the five days, the Appeals
Coordinator shall assign the claim to the Appeal Panel and post the claim to the
Appeal Panel Portal.

(4) At any point until the Appeal Panel posts its decision, the claimant and BP may
choose to reach a compromise. The parties shail submit matching Compromise
Forms before the Appeal Panel posts a decision to the Appeal Panel Portal.

(5) After the parties reach an agreement, the Claims Administrator will post or mail a
Post-Appeal Eligibility Notice on the DWH Portals of BP and the claimant.

(d) No Agreement between Parties. If the Parties do not reach an agreement within five
days after the posting/mailing of the Final Proposals, the Appeals Coordinator shall
randomly assign the appeal to an Appeal Panel and will route the claim electronically
through the DWH Appeal Panel Portal and to the queue of the panelist(s) assigned to
the Appeal. The Appeal Panelists access the queue through the Appeal Panel Portal.

(1) One Member Appeal Panel: The Appeals Coordinator shall randomly assign the
Appeal to a single Appeal Panelist when: (1) the claimant brings the Appeal and
the Compensation Amount sought by the claimant is under $1,000,000; or (2) BP
brings the Appeal, and the Compensation Amount awarded to the claimant by the
Settlement Program is under $1,000,000.

(2) Three- Member Appeal Panel: The Appeals Coordinator shall randomly assign
the Appeal to a three-member Appeal Panel specifically designated by the Court
to hear Appeals of greater than $1,000,000 when: (1) the claimant brings the
Appeal and the Compensation Amount sought by the claimant is greater than

$1,000,000; or (2) BP brings the Appeal and the Compensation Amount awarded
to the claimant by the Settlement Program is greater than $1,000,000. If the
claimant brings the Appeal, the three-member Appeal Panel shall have at least
one Appeal Panelist randomly selected from the sub-list of Appeal Panelists from
the claimant’s home state.

(3) Home State Determination: The Appeal Coordinator shall determine the
claimant’s home state as the state in which the claimant was living on April 20,
2010. Ifthe claimant was not living in one of the five Gulf States (Florida,
Alabama, Mississippi, Louisiana, and Texas) on April 20, 2010, the claimant shall
choose one of the five Gulf States to serve as the home state for purposes of the
Appeal.

(4) Panel Procedures: Pursuant to Settlement Agreement Section 6.2, the Appeal
Panelists shall be neutral and may establish their own procedural rules regarding
the review of Appeals. The Appeal Panel may consider only the Record on
Appeal as described in Rule 13.

(5) Appeal Panel Decision: The Appeal Panel shall select either the clatmant’s Final
Proposal or BP’s Final Proposal and no other amount. The Panel may remand an
Appeal only if it finds that: (a) a new document has been introduced on appeal
that the Appeal Panel determines would change the outcome of the Program’s

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determination to a value that is neither the claimant nor BP’s Final Proposal
amount; or (b) the information in the record is net sufficient to support either the
claimant or BP’s Final Proposal. After the Appeal Panel issues a decision, it shall

. be final. The decision shall only apply to that specific claim and shall not be
applied retroactively or prospectively to other claims, and the Appeal Panel shall
not be bound by another Panelist’s decision. Consistent with the Baseball
Process, all Appeal Panel decisions shall be in conformity with the terms of the
Settlement Agreement and applicable Court rulings.

(6) Notice of Appeal Panel Decision: The Appeal Panel shall post its decision and a
written determination on the Appeal Panel Portal. The Appeals Coordinator shall
post or mail a Notice of Appeal Panel Decision to the claimant and BP indicating
the decision of the Appeal Panel.

(7) Written Decisions and Opinions: The Appeal Panel shall provide its decisions as
follows:

a. For Each Appeal, Regardless of Outcome Amount: The Appeal Panel shall
enter its decision through the Appeal Panel Portal. That decision shall state
whether the appeal is decided in favor of BP or the claimant and shall state the
amount of the determination.

b. For Appeals with Outcomes >:$1,000,000: Ifthe Appeal Panel determines
that the claimant will receive a Compensation Amount of greater than
$1,000,600, the Appeal Pane! shall provide its decision through the Appeal
Panel Portal and shall also post a written opinion describing the basis of its
determination. The Appeals Coordinator shall post or mail the written opinion
to the claimant and BP.

(ce) Post-Appeal Eligibility Notice: The Claims Administrator will apply the decision of
the Appeal Panel in a Post-Appeal Eligibility Notice. As applicable the Post-Appeal
Eligibility Notice will reflect the following:

(1) The Claims Administrator shall refund the filing fee paid by the claimant in a
Claimant appeal if the claimant prevails on Appeal. To prevail in an Appeal for
this purpose means that the Appeal Panel awards the claimant a higher
Compensation Amount than offered in the Post-Reconsideration Eligibility
Notice. If the Claimant is being compensated by the Seafood Compensation
Fund, any additional compensation awarded as part of the 5% additional payment
shall not be paid by the Seafood Compensation Fund but shall be paid separately
by BP

(2) The Claims Administrator shall decrease the pre-RTP Compensation Amount by
3% if the claimant elected to pay the filing fee by a 5% reduction of the
Compensation Amount and the claimant did not prevail in the Appeal.

(3) Assessment of 5% Review Cost for Claimant Appeals: Ifthe Appeal Panel
awards the claimant an amount higher than the Compensation Amount offered in

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the Post-Reconsideration Eligibility Notice, the Claims Administrator shall add
5% of the total pre-RTP Compensation Amount to the Award Amount.

(4) Assessment of 5% Review Cost for BP Appeals: If the Appeal Panel awards the
same amount as the claimant’s Eligibility Notice or the amount of the claimant’s
Final Proposal, the Claims Administrator shall add 5% of the total pre-RTP
Compensation Amount listed in the Eligibility Notice to the Award Amount. The
3% Review Cost Assessment shall not be applied if the appeal is withdrawn,
settled, or administratively closed prior to the Appeal Panel issuing an award.

Rule 18. Non-Baseball Process. The Claims Administrator shall process appeals of
Denial Notices using the Non-Baseball Process set forth in Settlement Agreement Exhibit 25,
Section 3.B. Only the claimant may appeal a Denial Notice.

(a) Opening Memorandum. The clatmant shall submit an Opening Memorandum
explaining the basis for the Appeal within 10 days of the date of the Notice of
Appeal.

(b) Opposition Memorandum. BP shall submit an opposition memorandum no later than
25 days after the Claims Administrator posts the claimant’s Notice of Appeal on the
Portal.

(c) Reply Brief. The claimant may submit a reply brief no later than 35 days after the
posting of the Notice of Appeal.

(d) After each submission, the Claims Administrator shall post or mail the memorandum
or brief to the claimant and BP.

(e) Appeal Panel Review. After the expiration of the 35 days from the date of the Notice
of Appeal, the Appeal Coordinator shall route the claim to one randomly assigned
Appeal Panelist.

(8 Notice of Appeal Panel Decision. The Appeal Panel shall enter its decision through
the Appeal Panel Portal. The Appeals Coordinator shall post on the Portal or mail a
Notice of Appeal Panel Decision to the claimant and BP.

(1} Denial Upheld: Ifthe Appeal Panel’s decision is to uphold the denial, the Claims
Administrator shall mail or post a Post-Appeal Denial Notice.

(2) Denial Overturned: Ifthe Appeal Panel’s decision is to averturn the denial, the
Claims Administrator shall return the claim to the review process. The Claims
Administrator shall also add 5% to the pre-RTP Compensation Amount and
refund the filing fee to the claimant. Ifthe Claimant is being compensated by the
Seafood Compensation Fund, any additional compensation awarded as part of the
5% additional payment shall not be paid by the Seafood Compensation Fund but
shall be paid separately by BP.

Rule 19. Appeal Panel Discretion to Allow Responsive Filings. The Appeal Panel shall
have the discretion to allow either side the opportunity to respond to a new document or issue

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raised a Final Proposal or the Reply Brief filed in the Baseball or non-Baseball appeals,
respectively. However, any response must be limited to the new issue or document and shall not
be repetitive of arguments or issues already presented.

Rule 20. Appeals Coordinator Discretion to Stay Appeals. The Appeals Coordinator
has the discretion to stay any appeal that presents a policy question or any issue that could give
rise to inconsistent treatment among claimants until the issue is resolved by the Court or by

. agreement of the Parties. The Appeals Coordinator shall notify the affected claimant, Class
Counsel, and BP of any such stay.

Rule 21. Appeal Review Standards. The Standard of Review by the Appeal Panelist or
Appeal Panel shall be a de novo review of the complete record of that Claimant in the Settlement
Program to enforce compliance with the Settlement Agreement as approved by the Court.

Rale 22. Court Inherent Jurisdiction. The Court maintains the discretionary right to
review any Appeal determination to consider whether the determination was in compliance with
the Agreement. Upon reviewing such a determination, the Court shall treat the Appeal
determination as if it were a recommendation by a Magistrate Judge.

TITLE V: FILE ACCESS

Rule 23. Web Partal Access. The Claims Administrator shall provide the Appeal Panel’s
decision on the DWH Portal for both parties and Lead Class Counsei pursuant ti to Settlement
Agreement Exhibit 25, Section 7.

Rule 24.. Panel Decisions. The Claims Administrator shall create public versions of the
Appeal Panel decisions with personally identifying information redacted to post to the Settlement
website.

